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                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   MICHAEL STEVEN CARDEY,

 9                             Plaintiff,                  CASE NO. 3:23-cv-05701-TL-BAT

10           v.                                            ORDER OF DISMISSAL WITHOUT
                                                           PREJUDICE
11   PIERCE COUNTY et al.,

12                             Defendants.

13

14          Having reviewed the Report and Recommendation of the assigned United States

15   Magistrate Judge, any objections or responses, and the remaining record, the Court finds and

16   ORDERS:

17          (1)    The Court ADOPTS the Report and Recommendation.

18          (2)    The case is dismissed without prejudice.

19          (3)    The Clerk is directed to send copies of this Order to the parties.

20          Dated this 16th day of October, 2023.

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22
                                                          A
                                                          Tana Lin
                                                          United States District Judge
23



     ORDER OF DISMISSAL WITHOUT
     PREJUDICE - 1
